






Opinion issued September 24, 2009










In The

Court of Appeals

For The

First District of Texas






NO. 01-09-00453-CV






SALVADOR HERNANDEZ AND ANA V. HERNANDEZ,  Appellants


V.


HARRIS COUNTY, TEXAS,  Appellee






On Appeal from the County Civil Court at Law No. 1

Harris County, Texas

Trial Court Cause No. 920246






MEMORANDUM OPINION	Appellants have neither established indigence, nor paid all the required fees. 
See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless indigent), 20.1
(listing requirements for establishing indigence); see also Tex. Gov't Code Ann. §§
51.207 (Vernon 2005), 51.208 (Vernon Supp. 2008); 51.941(a) (Vernon 2005),
101.041 (Vernon Supp. 2008) (listing fees in court of appeals); Fees Civ. Cases
B(1), (3) (listing fees in court of appeals).  After being notified that this appeal was
subject to dismissal, appellants Salvador Hernandez and Ana V. Hernandez did not
adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).

	We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Bland and Massengale .


